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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cherry Street Capital 113-27 LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1 Harmon Plaza
                                  9th Floor
                                  Secaucus, NJ 07094
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hudson                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  113-27 N 23rd St Philadelphia, PA 19103
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Cherry Street Capital 113-27 LLC                                                          Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                         Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                Case number
                                                District                                 When                                Case number

10. Are any bankruptcy cases           No
    pending or being filed by a
    business partner or an             Yes.
    affiliate of the debtor?




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Debtor    Cherry Street Capital 113-27 LLC                                                              Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor       See Attached                                                 Relationship

                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                           5001-10,000                                50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




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Debtor    Cherry Street Capital 113-27 LLC                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 7, 2022
                                                  MM / DD / YYYY


                             X   /s/ Brian Casey                                                          Brian Casey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Independent Manager, NRIA LLC




18. Signature of attorney    X   /s/ S. Jason Teele                                                        Date June 7, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 S. Jason Teele 014012001
                                 Printed name

                                 Sills Cummis & Gross P.C.
                                 Firm name

                                 One Riverfront Plaza
                                 Newark, NJ 07102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (973) 643-4779                Email address      steele@sillscummis.com

                                 014012001 NJ
                                 Bar number and State




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                                                      United States Bankruptcy Court
                                                                  District of New Jersey
 In re    Cherry Street Capital 113-27 LLC                                                                        Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
NRIA Cherry Street 113-27 Manager LLC                                             100%
1 Harmon Plaza
9th Floor
Secaucus, NJ 07094


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Independent Manager, NRIA LLC of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date June 7, 2022                                                        Signature /s/ Brian Casey
                                                                                        Brian Casey

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                            United States Bankruptcy Court
                                                   District of New Jersey
 In re   Cherry Street Capital 113-27 LLC                                              Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Cherry Street Capital 113-27 LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
NRIA Cherry Street 113-27 Manager LLC
1 Harmon Plaza
9th Floor
Secaucus, NJ 07094




 None [Check if applicable]




June 7, 2022                                     /s/ S. Jason Teele
Date                                             S. Jason Teele 014012001
                                                 Signature of Attorney or Litigant
                                                 Counsel for Cherry Street Capital 113-27 LLC
                                                 Sills Cummis & Gross P.C.
                                                 One Riverfront Plaza
                                                 Newark, NJ 07102
                                                 (973) 643-4779
                                                 steele@sillscummis.com
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                           Schedule 1 to Chapter 11 Petitions

 142 NE 7th Capital LLC                         Gulf Stream Views, LLC
 143 Adagio Investments, LLC                    Guttenberg Capital 416-22 69th St. LLC
 184 Lincoln Place LP                           Guttenberg Capital 6269 LLC
 1st Avenue Capital 301 LLC                     Hanover Road Capital 2 LLC
 2031 Lombard Partners LLC                      Henry Street Capital 506, LLC
 2044 West First Capital LLC                    Kenwood Rd. Capital 8 LLC
 3rd Street Capital 200-210 LLC                 Landnet LLC
 3rd Street Capital 203-215 LLC                 Lender Prime 1, LLC
 51st Street Capital 508, LLC                   Luquer Street Capital 140 LLC
 52nd Street Capital 511-513, LLC               Madison Street Capital 931, LLC
 7th Street Capital 285 LLC                     Main St. Capital 360 LLC
 Adam St Capital 6903 LLC                       Main St. Capital 360 Manager LLC
 Adam St Capital 6903 Manager, LLC              Main St. Capital 360 Member LLC
 Adam St Capital 6903 Member, LLC               Manhattan Avenue Capital 1300 LLC
 Baltic Street Capital 640 LLC                  N. Ocean Capital 2929 B LLC
 Bergen St Capital 1070 LLC                     N. Ocean Capital 344 LLC
 Bergenline Capital 4901 LLC                    N. Ocean Capital 3565 B LLC
 Berkeley Place Capital 227 LLC                 N. Ocean Capital 707 B LLC
 Black Horse Alley Capital                      N. Ocean Capital 707 LLC
 Bond Way Capital 915 LLC                       National Realty Investment Advisors, LLC
 Briny Capital 305 LLC                          Newark Street Capital 511-521 LLC
 Carroll Street Capital 160 LLC                 NJ Manager 1300, LLC
 Cherry Street Capital 113-27 LLC               North Bergen Capital 8709 LLC
 Culver Urban Renewal Redevelopment I,          NRIA 140 Luquer Manager LLC
 LLC                                            NRIA 1st Avenue 301 Manager LLC
 Culver Urban Renewal Redevelopment II,         NRIA 2031 Lombard Manager
 LLC                                            NRIA 2044 West First Capital Manager LLC
 DeGraw St. Capital 377 LLC                     NRIA 2044 West First Capital Member LLC
 Delray Capital 1 LLC                           NRIA 227 Berkeley Manager LLC
 Delray Capital 1B LLC                          NRIA 279 Sackett Manager LLC
 Denery Lane Capital 837 LLC                    NRIA 3rd Street Capital 200-210 Manager
 Denery Lane Capital 843 LLC                    LLC
 Denery Lane Capital 843 Manager LLC            NRIA 3rd Street Capital 200-210 Member
 Elden Drive Capital 1 LLC                      LLC
 Federal Highway Capital 318 B LLC              NRIA 3rd Street Capital 203-215 Member
 Federal Highway Capital 318 LLC                LLC
 FTM Partners Portfolio Hotel Retail LLC        NRIA 3rd Street Capital 203-215 Manager
 FTM Partners Portfolio Marina LLC              LLC
 FTM Partners Portfolio Restaurant LLC          NRIA 423 Third Manager LLC
 Gulf Stream Views II, LLC                      NRIA 434 Union Manager LLC



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 NRIA 494 Seventh Manager LLC                 NRIA Manhattan Avenue 1300 Member
 NRIA 51st Street 508 Member LLC              LLC
 NRIA 51st Street Manager 508, LLC            NRIA N. Ocean 2929 Manager LLC
 NRIA 52nd Street 511-513 Member LLC          NRIA N. Ocean 344 Manager LLC
 NRIA 7th Street Capital Manager LLC          NRIA N. Ocean 3565 Manager LLC
 NRIA Bergenline 4901 Manager LLC             NRIA N. Ocean 707 Manager LLC
 NRIA Bond Way Capital Manager LLC            NRIA NE 7th Manager LLC
 NRIA Briny Capital 305 Manager LLC           NRIA Newark Street Capital 511 Member
 NRIA Briny Capital 305 Member LLC            LLC
 NRIA Brooklyn I LLC                          NRIA Newark Street Capital 511-521
                                              Manager LLC
 NRIA Brooklyn II LLC
                                              NRIA NJ Manager 511, LLC
 NRIA Cherry Street 113-27 Manager LLC
                                              NRIA NJ Manager 8709 LLC
 NRIA Delray 1 Manager LLC
                                              NRIA NJ Manager 931 LLC
 NRIA Denery Lane Capital 837 Manager
                                              NRIA North Bergen 8709 Member, LLC
 LLC
 NRIA EB5 1300 Manhattan Fund                 NRIA Old River Road Capital 460-510
                                              Manager LLC
 NRIA EB5 4901 Bergenline Fund LLC
                                              NRIA Old River Road Capital 460-510
 NRIA Elden Drive 1 Manager LLC               Member LLC
 NRIA Exchange LLC                            NRIA Old Woods Road Manager LLC
 NRIA Federal Highway 318 Manager LLC         NRIA Partners Portfolio Fund I, LLC
 NRIA FL Manager LLC                          NRIA South Christopher Columbus 1499
 NRIA Gulf Stream Views Manager LLC           Manager LLC
 NRIA Guttenberg Capital 416-22 69th St       NRIA Structured Credit Strategies LLC
 Manager LLC                                  NRIA Wright by the Sea 1901 Member,
 NRIA Guttenberg Capital 416-22 St.           LLC
 Member LLC                                   Old River Road Capital 460-510 LLC
 NRIA Guttenberg Capital 6269 JV Manager      Old Woods Road Capital 36 LLC
 LLC                                          Sackett Street Capital 279 LLC
 NRIA Guttenberg Capital 6269 Manager
                                              Seventh Street Capital 494 LLC
 LLC
 NRIA Hanover Road Manager LLC                South Christopher Columbus Capital 1499
                                              LLC
 NRIA Henry Street 506 Manager, LLC
                                              Summit Street Capital 143 LLC
 NRIA II
                                              Third Street Capital 423 LLC
 NRIA Kenwood Rd. 8 Manager LLC
                                              Union Street Capital 434 LLC
 NRIA Madison Street Capital 931 Member
                                              Web Marketing Associates, LLC
 LLC
                                              Wright by the Sea 1901 LLC




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             WRITTEN CONSENT OF THE SOLE AND INDEPENDENT
               MANAGER OF NATIONAL REALTY INVESTMENT
          ADVISORS, LLC, A DELAWARE LIMITED LIABILITY COMPANY

                                     DATED: JUNE 7, 2022

         The undersigned, Brian Casey, being the sole and independent manager (the
“Independent Manager”) of National Realty Investment Advisors, LLC, a Delaware limited
liability company (“NRIA”) on behalf of (i) NRIA, and (ii) NRIA Partners Portfolio Fund I,
LLC and each of the entities listed on Exhibit A hereto, as the sole and independent manager of
NRIA, in NRIA’s capacity as the member and/or manager thereof (collectively with NRIA, the
“NRIA Debtors”), does hereby consent to taking the actions and adopting the resolutions set out
below. All of the actions taken and resolutions set forth herein shall have the same force and
effect as if they were taken or adopted at a meeting of the sole Manager of NRIA. This written
consent will be filed in the corporate records of the NRIA Debtors.

                                              Recitals

        WHEREAS, pursuant to that certain Independent Manager Agreement dated April 29,
2022, as amended, Rey Grabato (i) resigned as the Manager, the President and the Chief
Executive Officer of NRIA and (ii) as the sole Member of NRIA, appointed the Independent
Manager to act as the sole Manager of NRIA, and granted the Independent Manager, inter alia,
“full and exclusive decision-making authority in the continued operation of [the] business of
NRIA (subject to the requirements of the Bankruptcy Code)”; and

         WHEREAS, in light of the NRIA Debtors’ current financial condition, the Independent
Manager has investigated, discussed and considered options for addressing the NRIA Debtors’
financial challenges and, after consultation with the NRIA Debtors’ advisors, have concluded
that it is in the best interests of the NRIA Debtors, their creditors, employees and other interested
parties, that petitions be filed by the NRIA Debtors seeking relief under the provisions of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”); now therefore be it

                                       Chapter 11 Matters

        RESOLVED, that in the Independent Manager’s judgment, it is desirable and in the best
interests of the NRIA Debtors, their respective creditors, employees and other interested parties
that petitions be filed by the NRIA Debtors seeking relief under the Bankruptcy Code
(collectively, the “Chapter 11 Cases”); and it is further

        RESOLVED, that the Independent Manager is hereby authorized, empowered and
directed, in the name and on behalf of the NRIA Debtors, to execute and verify petitions under
Chapter 11 of the Bankruptcy Code and to cause the same to be filed in the United States
Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”), at such time as the
Independent Manager shall determine in consultation with the NRIA Debtors’ legal and financial
advisors; and it is further




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        RESOLVED, that the Independent Manager is hereby authorized and empowered to
negotiate for and obtain post-petition financing according to terms to be negotiated, including
under debtor-in-possession credit facilities or similar arrangements, and to execute and deliver
agreements regarding the use of cash collateral or other similar arrangements, including without
limitation, to enter into any guarantees and to pledge and grant liens on the NRIA Debtors’ assets
as may be contemplated by or required under the terms of such post-petition financing or cash
collateral agreements or other similar arrangements; and, in connection therewith, the
Independent Manager is hereby authorized and empowered, in the name of and on behalf of the
NRIA Debtors, to execute appropriate loan agreements, guarantees, cash collateral agreements,
and related ancillary documents; and it is further

         RESOLVED, that the Independent Manager is hereby authorized and empowered to
enter into, in the name and on behalf of the NRIA Debtors, agreements to sell the NRIA Debtors’
assets, in the ordinary course of business or outside of the ordinary course of business (subject to
approval of the Bankruptcy Court), on such terms and conditions as are deemed necessary or
advisable by the Independent Manager executing the same, the execution thereof by the
Independent Manager to be conclusive evidence of such approval and determination; and it is
further

         RESOLVED, that in connection with the Chapter 11 Cases, the Independent Manager is
hereby authorized and empowered to execute agreements or other documents establishing
procedures for the sale of the NRIA Debtors’ assets pursuant to Section 363 of the Bankruptcy
Code or any other equity or asset sale, subject to the approval of such procedures by the
Bankruptcy Court in the Chapter 11 Cases, on such terms and conditions as are deemed
necessary or advisable by the Independent Manager executing the same, the execution thereof by
the Independent Manager to be conclusive evidence of such approval and determination; and be
it further

        RESOLVED, that the Independent Manager is hereby authorized and empowered to
execute, deliver and perform any agreement, document or any amendment to the foregoing, in
the name and on behalf of the NRIA Debtors , in connection with any transaction for the sale of
the NRIA Debtors’ assets, on such terms as the Independent Manager deems necessary or
advisable in order to carry out the purpose and intent of the foregoing resolutions; and be it
further

        RESOLVED, that the Independent Manager is hereby authorized, empowered and
directed to employ Sills Cummis & Gross, P.C. as legal counsel to the NRIA Debtors in the
Chapter 11 Cases and is authorized to represent and assist the NRIA Debtors in carrying out their
duties under the Bankruptcy Code and to take any and all actions to advance the NRIA Debtors’
rights; and in connection therewith, the Independent Manager is hereby authorized, empowered,
and directed, in the name of and on behalf of the NRIA Debtors, to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Sills Cummis & Gross, P.C.; and it is further

        RESOLVED, that the Independent Manager is hereby authorized, empowered and
directed to employ Omni Agent Solutions to provide claims, noticing, balloting and case


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administration services to the NRIA Debtors and to represent and assist the NRIA Debtors in
carrying out their duties under the Bankruptcy Code and to take any and all actions to advance
the NRIA Debtors’ rights; and in connection therewith, the Independent Manager is hereby
authorized, empowered, and directed, in the name of and on behalf of the NRIA Debtors, to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain the services of Omni Agent Solutions; and it is
further

        RESOLVED, that the Independent Manager is hereby authorized, empowered and
directed to employ any other professionals, including ordinary course professionals, to assist the
NRIA Debtors in connection with their existing financial arrangements and capitalization and to
represent and assist the NRIA Debtors in carrying out their duties under the Bankruptcy Code;
and in connection therewith, the Independent Manager, is hereby authorized, empowered, and
directed, in the name of and on behalf of the NRIA Debtors, to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
authority to the services of any other professionals as necessary; and it is further

        RESOLVED, that the Independent Manager is hereby authorized, empowered and
directed, in the name and on behalf of the NRIA Debtors, to execute and file all petitions,
schedules, motions, lists, applications, pleadings and other papers and, in that connection, to
employ and retain all assistance by legal counsel, accountants, financial advisors, liquidators and
other professionals, and to take and perform any and all further acts and deeds deemed
necessary, proper or desirable in connection with the successful prosecution of the Chapter 11
Cases; and it is further

        RESOLVED, that the Independent Manager is hereby authorized, empowered and
directed, in the name and on behalf of the NRIA Debtors, to cause the NRIA Debtors to enter
into, execute, deliver, certify, file and/or record, and perform such agreements, instruments,
motions, affidavits, applications for approvals or ruling of governmental or regulatory
authorities, certificates or other documents, including without limitation, the amendment of any
organizational, constitutional or similar documents of subsidiaries of the NRIA Debtors for the
preservation of such entities and/or the value of the estate, and to take such action as in the
judgment of the Independent Manager be or become necessary, proper and desirable to effectuate
a restructuring of the NRIA Debtors or orderly liquidation, in the judgment of the Independent
Manager, of the assets of the NRIA Debtors; and it is further

        RESOLVED, that any and all past actions heretofore taken by or on behalf of the NRIA
Debtors by the Independent Manager or any other officer in the name and on behalf of the NRIA
Debtors in furtherance of any or all of the proceeding resolutions be, and the same hereby are,
ratified, confirmed and approved; and it is further

       RESOLVED, that the filing by the NRIA Debtors of petitions seeking relief under the
provisions of the Bankruptcy Code shall not dissolve any of the NRIA Debtors.




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                                   EXHIBIT A

          142 NE 7TH CAPITAL LLC
          143 ADAGIO INVESTMENTS, LLC
          184 LINCOLN PLACE LP
          1ST AVENUE CAPITAL 301 LLC
          2031 LOMBARD PARTNERS LLC
          2044 WEST FIRST CAPITAL LLC
          3RD STREET CAPITAL 200-210 LLC
          3RD STREET CAPITAL 203-215 LLC
          51ST STREET CAPITAL 508 LLC
          52ND STREET CAPITAL 511-513 LLC
          7TH STREET CAPITAL 285 LLC
          ADAM ST CAPITAL 6903 LLC
          ADAM ST CAPITAL 6903 MANAGER LLC
          ADAM ST CAPITAL 6903 MEMBER LLC
          BALTIC STREET CAPITAL 640 LLC
          BERGEN ST CAPITAL 1070 LLC
          BERGENLINE CAPITAL 4901 LLC
          BERKELEY PLACE CAPITAL 227 LLC
          BLACK HORSE ALLEY CAPITAL
          BOND WAY CAPITAL 915 LLC
          BRINY CAPITAL 305 LLC
          CARROLL STREET CAPITAL 160 LLC
          CHERRY STREET CAPITAL 113-27 LLC
          CULVER URBAN RENEWAL REDEVELOPMENT I
          CULVER URBAN RENEWAL REDEVELOPMENT II
          DEGRAW ST CAPITAL 377 LLC
          DELRAY CAPITAL 1 LLC
          DELRAY CAPITAL 1B LLC
          DENERY LANE CAPITAL 837 LLC
          DENERY LANE CAPITAL 843 LLC
          DENERY LANE CAPITAL 843 MANAGER LLC
          ELDEN DRIVE CAPITAL 1 LLC
          FEDERAL HIGHWAY CAPITAL 318 B LLC
          FEDERAL HIGHWAY CAPITAL 318 LLC
          FTM PARTNERS PORTFOLIO HOTEL RETAIL LLC
          FTM PARTNERS PORTFOLIO MARINA LLC
          FTM PARTNERS PORTFOLIO RESTAURANT LLC
          GULF STREAM VIEWS II LLC

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          GULF STREAM VIEWS LLC
          GUTTENBERG CAPITAL 416-22 69TH ST LLC
          GUTTENBERG CAPITAL 6269 LLC
          HANOVER ROAD CAPITAL 2 LLC
          HENRY STREET CAPITAL 506 LLC
          KENWOOD RD CAPITAL 8 LLC
          LANDNET LLC
          LENDER PRIME 1, LLC
          LUQUER STREET CAPITAL 140 LLC
          MADISON STREET CAPITAL 931 LLC
          MAIN ST CAPITAL 360 MANAGER LLC
          MAIN ST. CAPITAL 360 LLC
          MAIN ST. CAPITAL 360 MEMBER LLC
          MANHATTAN AVENUE CAPITAL 1300 LLC
          N OCEAN CAPITAL 2929 B LLC
          N OCEAN CAPITAL 3565 B LLC
          N OCEAN CAPITAL 707 B LLC
          N. OCEAN CAPITAL 344 LLC
          N. OCEAN CAPITAL 707 LLC
          NEWARK STREET CAPITAL 511-521 LLC
          NJ MANAGER 1300 LLC
          NORTH BERGEN CAPITAL 8709 LLC
          NRIA 140 LUQUER MANAGER LLC
          NRIA 1ST AVENUE 301 MANAGER LLC
          NRIA 2031 LOMBARD MANAGER LLC
          NRIA 2044 WEST FIRST CAPITAL MANAGER, LLC
          NRIA 2044 WEST FIRST CAPITAL MEMBER, LLC
          NRIA 227 BERKELEY MANAGER LLC
          NRIA 279 SACKETT MANAGER LLC
          NRIA 3RD STREET CAPITAL 200-210 MANAGER, LLC
          NRIA 3RD STREET CAPITAL 200-210 MEMBER, LLC
          NRIA 3RD STREET CAPITAL 203-215 MANAGER, LLC
          NRIA 3RD STREET CAPITAL 203-215 MEMBER, LLC
          NRIA 423 THIRD MANAGER LLC
          NRIA 434 UNION MANAGER LLC
          NRIA 494 SEVENTH MANAGER LLC
          NRIA 51ST STREET 508 MEMBER LLC
          NRIA 51ST STREET MANAGER 508 LLC
          NRIA 52ND STREET 511-513 MEMBER LLC


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          NRIA 7TH STREET CAPITAL MANAGER LLC
          NRIA BERGENLINE 4901 MANAGER LLC
          NRIA BOND WAY CAPITAL MANAGER LLC
          NRIA BRINY CAPITAL 305 MANAGER, LLC
          NRIA BRINY CAPITAL 305 MEMBER, LLC
          NRIA BROOKLYN I
          NRIA BROOKLYN II
          NRIA CHERRY STREET 113-27 MANAGER LLC
          NRIA DELRAY 1 MANAGER LLC
          NRIA DENERY LANE CAPITAL 837 MANAGER LLC
          NRIA EB5 1300 MANHATTAN FUND LLC
          NRIA EB5 4901 BERGENLINE FUND LLC
          NRIA ELDEN DRIVE 1 MANAGER LLC
          NRIA EXCHANGE
          NRIA FEDERAL HIGHWAY 318 MANAGER LLC
          NRIA FL MANAGER LLC
          NRIA GULF STREAM VIEWS MANAGER LLC
          NRIA GUTTENBERG CAPITAL 416-22 69TH ST MANAGER LLC
          NRIA GUTTENBERG CAPITAL 416-22 69TH ST MEMBER LLC
          NRIA GUTTENBERG CAPITAL 6269 JV MANAGER LLC
          NRIA GUTTENBERG CAPITAL 6269 MANAGER LLC
          NRIA HANOVER ROAD MANAGER LLC
          NRIA HENRY STREET 506 MANAGER LLC
          NRIA II
          NRIA KENWOOD RD 8 MANAGER LLC
          NRIA MADISON STREET CAPITAL 931 MEMBER LLC
          NRIA MANHATTAN AVENUE 1300 MEMBER LLC
          NRIA N. OCEAN 2929 MANAGER LLC
          NRIA N. OCEAN 344 MANAGER LLC
          NRIA N. OCEAN 3565 MANAGER LLC
          NRIA N. OCEAN 707 MANAGER LLC
          NRIA NE 7TH MANAGER LLC
          NRIA NEWARK STREET CAPITAL 511 MEMBER LLC
          NRIA NEWARK STREET CAPITAL 511-521 MANAGER LLC
          NRIA NJ MANAGER 511 LLC
          NRIA NJ MANAGER 8709 LLC
          NRIA NJ MANAGER 931 LLC
          NRIA NORTH BERGEN 8709 MEMBER LLC
          NRIA OLD RIVER RD CAPITAL 460-510 MANAGER, LLC


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          NRIA OLD RIVER RD CAPITAL 460-510 MEMBER, LLC
          NRIA OLD WOODS ROAD MANAGER LLC
          NRIA SOUTH CHRISTOPHER COLUMBUS 1499 MANAGER LLC
          NRIA STRUCTURED CREDIT STRATEGIES, LLC
          NRIA WRIGHT BY THE SEA 1901 MEMBER LLC
          OLD RIVER ROAD CAPITAL 460-510, LLC
          OLD WOODS ROAD CAPITAL 36 LLC
          SACKETT STREET CAPITAL 279 LLC
          SEVENTH STREET CAPITAL 494 LLC
          SOUTH CHRISTOPHER COLUMBUS CAPITAL 1499 LLC
          SUMMIT STREET CAPITAL 143 LLC
          THIRD STREET CAPITAL 423 LLC
          UNION STREET CAPITAL 434 LLC
          WEB MARKETING ASSOCIATES, LLC
          WRIGHT BY THE SEA 1901 LLC




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8849087
             Case 22-14577-JKS                      Doc 1        Filed 06/07/22 Entered 06/07/22 19:00:34                                  Desc Main
                                                                Document      Page 17 of 23

     Fill in this information to identify the case:


     Debtor Name: National Realty Investment Advisors, LLC et al.

     United States Bankruptcy Court for the District of New Jersey
                                                                                    (State)
                                                                                                                                                 Check if this is an
     Case number (If known):                                                                                                                       amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims on a Consolidated Basis and Are Not Insiders                                                                                                    12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


    Name of creditor and complete               Name, telephone number, and           Nature of the    Indicate if       Amount of unsecured claim
    mailing address, including zip code         email address of creditor contact     claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                      example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                      debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                                      loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                      government
                                                                                                                       Total claim, if    Deduction for        Unsecured
                                                                                      contracts)
                                                                                                                       partially          value of             claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff



1
    Cipolla & Co., LLC                         jcipolla@cipollacpa.com               Vendor            Disputed                                              $1,312,587.36
    851 Franklin Lake Rd
    Franklin Lakes, NJ 07417
2
    Ryan Blanch                   rblanch@reputepr.com                               Vendor            Disputed                                              $450,000.00
    420 Lexington Ave, Suite 1402 deb@reputepr.com
    PO Box 1057
    New York, NY 10170
3
    Red Seat Ventures, LLC                     skitchell@thefirsttv.com              Vendor            Disputed                                              $342,000.00
    129 W 29th St, RM 600N
    New York, NY 10010
4
    iHeart Media                               robertamicucci@iheartmedia.co Vendor                    Disputed                                              $229,000.00
    PO BOX 406372                              m
    Atlanta, GA 30384-6872
5
    DMR Construction                mplante@dmrconstruct.com                         Vendor            Disputed                                              $161,176.82
    DMR Construction Services, Inc. Jsidawi@dmrconstruct.com
    160 Hopper Ave
    Waldwick, NJ 07463
6
    The First Digital, Inc.                    skitchell@thefirsttv.com              Vendor            Disputed                                              $150,000.00
    129 W 29th St, RM 600N
    New York, NY 10010



Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          page 1
              Case 22-14577-JKS                Doc 1      Filed 06/07/22 Entered 06/07/22 19:00:34                                             Desc Main
                                                         Document      Page 18 of 23
                 National Realty Investment Advisors, LLC et al.                Case number (if known) ______________________
     Debtor
                     Name




     Name of creditor and complete          Name, telephone number, and           Nature of the         Indicate if          Amount of unsecured claim
     mailing address, including zip code    email address of creditor contact     claim (for            claim is           If the claim is fully unsecured, fill in only unsecured
                                                                                  example, trade        contingent,        claim amount. If claim is partially secured, fill in
                                                                                  debts, bank           unliquidated,      total claim amount and deduction for value of
                                                                                  loans,                or disputed        collateral or setoff to calculate unsecured claim.
                                                                                  professional
                                                                                  services, and
                                                                                  government
                                                                                                                          Total claim, if     Deduction for        Unsecured
                                                                                  contracts)
                                                                                                                          partially           value of             claim
                                                                                                                          secured             collateral or
                                                                                                                                              setoff



7
     Air-Ref HVAC                          jsidawi@dmrconstruct.com              Vendor                 Disputed                                                 $133,771.78
     Air Ref Co., Inc.                     receivables@airref.com
     2703 North Old Dixie Hwy
     Delray Beach, FL 33483
8
     Union City Board of Education eweiner@weiner.law                            Vendor                                                                          $100,000.00
     3912 32nd St
     Union City, NJ 07087
9
     Reed Smith LLP                        BWeese@reedsmith.com                  Vendor                                                                          $82,283.50
     2672 Paysphere Circle
     Chicago, IL 60674
10
     Bloomberg                             korellana4@bloomberg.net              Vendor                 Disputed                                                 $71,670.00
     BLOOMBERG L.P.                        jtallant@bloomberg.net
     731 Lexington Avenue
     New York, NY 10022
11
     Distinctive Drywall                   JSidawi@dmrconstruct.com     Vendor                          Disputed                                                 $66,284.57
     Distinctive Drywall Designs,          distinctivedrywall@gmail.com
     LLC
     995 NW 31st Ave
     Pompano Beach, FL 33069
12
     US Bancorp Fund Services, LLC mutual.funds.billing@usbank.c Vendor                                                                                          $30,000.00
     777 East Wisconsin Avenue     om
     Milwaukee, WI 53202           mutual.funds.billing@usbank.c
                                   om
13
     JZN Engineering, PC                   njundi@jznengineering.com             Vendor                                                                          $24,461.10
     99 Morris Avenue, Suite 302
     Springfield, NJ 07081
14
     JOBS4BLUE                             ssullivan@jobs4blue.com               Vendor                                                                          $19,545.60
     4400 US 9 South, Suite 3500
     Freehold, NJ 07728
15
     Snell & Wilmer                        dholden@swlaw.com                     Vendor                                                                          $15,945.05
     One Arizona Center
     400 E. Van Buren, Suite 1900
     Phoenix, AZ 85004
16
     Repute PR                      rblanch@reputepr.com                         Vendor                 Disputed                                                 $15,880.00
     590 Madison Avenue, 21st Floor
     New York, NY 10022

Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                page 2
              Case 22-14577-JKS                Doc 1      Filed 06/07/22 Entered 06/07/22 19:00:34                                             Desc Main
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                 National Realty Investment Advisors, LLC et al.                Case number (if known) ______________________
     Debtor
                     Name




     Name of creditor and complete          Name, telephone number, and           Nature of the         Indicate if          Amount of unsecured claim
     mailing address, including zip code    email address of creditor contact     claim (for            claim is           If the claim is fully unsecured, fill in only unsecured
                                                                                  example, trade        contingent,        claim amount. If claim is partially secured, fill in
                                                                                  debts, bank           unliquidated,      total claim amount and deduction for value of
                                                                                  loans,                or disputed        collateral or setoff to calculate unsecured claim.
                                                                                  professional
                                                                                  services, and
                                                                                  government
                                                                                                                          Total claim, if     Deduction for        Unsecured
                                                                                  contracts)
                                                                                                                          partially           value of             claim
                                                                                                                          secured             collateral or
                                                                                                                                              setoff



17
     Crum & Forster                        Diana.Sviontek@cfins.com              Vendor                                                                          $14,508.73
     305 Madison Avenue
     Morristown, NJ 07960
18
     Edwin A. Reimon, P.E., C.M.E. reimon5@msn.com                               Vendor                                                                          $9,515.00
     PO BOX 377
     Rutherford, NJ 07070
19
     Flynn Engineering Services            Joan@FlynnEngineering.com             Vendor                                                                          $9,322.50
     241 Commercial Blvd.
     Lauderdale-By-The-Sea, FL
     33308
20
     Grand Expediters, Inc.                michaelgenari@grandexpediter Vendor                                                                                   $7,163.82
     30 Broad Street, 14th Floor           snyc.com
     New York, NY 10004
21
     Hudson Property Management, billing@hudsonpm.com                            Vendor                                                                          $7,101.22
     LLC
     PO Box 31
     Hoboken, NJ 07030
22
     Hubspot, Inc.                         billing@hubspot.com                   Vendor                                                                          $6,000.00
     25 First Street, 2nd Floor
     Cambridge, MA 02141
23
     City of Fort Myers Utilities          utilitybilling@cityftmyers.com Utilities                                                                              $5,760.98
     City of Fort Myers Financial
     Services Department
     2600 Dr Martin Luther King
     Blvd
     Fort Myers, FL 33916

24
     JAMS                                  egonzalez@jamsadr.com                 Arbitration                                                                     $5,100.00
     29 Madison Ave, FL 22                                                       Fees
     New York, NY 10017
25
     Thomas DiFabiis                       tdtemp@live.com                       Vendor                                                                          $4,521.32


26
     Glenn Glerum, P.C.                    gmg251@aol.com                        Vendor                                                                          $3,660.00
     108 Old Prospect School Rd
     Sparta, NJ 07871-3314

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                                                         Document      Page 20 of 23
                 National Realty Investment Advisors, LLC et al.                Case number (if known) ______________________
     Debtor
                     Name




     Name of creditor and complete          Name, telephone number, and           Nature of the         Indicate if          Amount of unsecured claim
     mailing address, including zip code    email address of creditor contact     claim (for            claim is           If the claim is fully unsecured, fill in only unsecured
                                                                                  example, trade        contingent,        claim amount. If claim is partially secured, fill in
                                                                                  debts, bank           unliquidated,      total claim amount and deduction for value of
                                                                                  loans,                or disputed        collateral or setoff to calculate unsecured claim.
                                                                                  professional
                                                                                  services, and
                                                                                  government
                                                                                                                          Total claim, if     Deduction for        Unsecured
                                                                                  contracts)
                                                                                                                          partially           value of             claim
                                                                                                                          secured             collateral or
                                                                                                                                              setoff



27
     Reinard Agency Inc.                   kcreinard@reinardinsurance.co Vendor                                                                                  $3,426.00
     349 Bustleton Pike                    m
     Feasterville, PA 19053
28
     DC Engineers, Inc.             sdanielsen@dcengineersinc.co Vendor                                                                                          $3,075.00
     Danielsen Consulting Engineers m
     Inc.
     12743 NW 13th Court
     Coral Springs, FL 33071
29
     Lochrie & Chakas P.A.                 emendez@lochrielaw.com                Vendor                                                                          $2,624.24
     1401 East Broward Blvd, Suite
     303
     Fort Lauderdale, FL 33301
30
     Grandview Title Agency of             grandview.bergen@gmail.com Vendor                                                                                     $1,942.00
     Bergen County
     198 Boulevard
     Hasbrouck Heights, NJ 07604




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                page 4
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 Fill in this information to identify the case:

 Debtor Name: National Realty Investment Advisors, LLC, et al.

 United States Bankruptcy Court for the District of New Jersey
                                                                         (State)
 Case number (If known):


List of 30 Largest Investors on a Consolidated Basis

             Name of investor and complete Name, telephone number, and                    Amount of Original Investment
             mailing address, including zip  email address of investor
                         code                         contact


            El-Sayed, Mohamed                                                       $5,548,780.97


            Camporese, Peter and Sandra                                             $5,157,768.48

            Mayne, Michelle M. (Trust)    maynereno@gmail.com                       $4,160,547.84
            “Michelle M. Mayne Revocable
            Living Trust u/a DTD 7-23-92”
            4790 Caughlin Parkway
            Reno, NV 89519

            Maretz, Andrew                                                          $3,848,768.12


            Wahi, Ashok                                                             $3,778,397.36


            ECPV, LLC                                   deepit_anand@yahoo.com      $3,469,866.67
            12 Kock Lane                                dshah1973@gmail.com
            East Brunswick, NJ 08816                    sanjoydubey@yahoo.com
                                                        pushpendra_jain@hotmail.com
                                                        dratulkalanuria@gmail.com
                                                        satish_goyal@yahoo.com
                                                        kinjal_79@hotmail.com
                                                        Neeraj.gehani@gmail.com

            Old House Lane, LLC                         schabra@asisystem.com       $3,306,036.99
            88 Old House Lane                           Sbindra@asisystem.com
            Sands Point, NY 11050                       rthakur@asisystem.com


            Jyot Funding, LLC                           apatel1a@yahoo.com          $3,223,060.52
            9 Bella Vista Court
            Marlboro, NJ 07746

            Walia, Arvind (LLC)                         arvindwalia@gmail.com       $2,721,522.89
            “AJJK Healthtek LLC”
            27 Kettlepond Road
            Jericho, NY 11753
         Case 22-14577-JKS                    Doc 1        Filed 06/07/22 Entered 06/07/22 19:00:34                     Desc Main
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Debtor     National Realty Investment Advisors, LLC, et al.            Case number (if known) ______________________
               Name




          Name of investor and complete Name, telephone number, and                               Amount of Original Investment
          mailing address, including zip  email address of investor
                      code                         contact


          Fox, James                                                                     $2,680,253.28


          Bendickson, Edward A.                                                          $2,627,065.65


          Kolarski, Viktor (LLC)                      viktor_kolar@yahoo.com             $2,482,305.85
          “AVVK Consulting, LLC”
          600 Getty Ave
          Clifton, NJ 07011

          Levine Capital Aggregation Fund adam@levinecapital.com                         $2,414,208.52
          I, LLC
          100 Franklin Square Drive
          Somerset, NJ 08873

          Carpino, Ronald                                                                $2,159,530.33


          Creamer, Patrick                                                               $2,054,401.75


          Magner, Douglas P. & Anne G.                                                   $2,040,180.79


          Goldsmith, Theodore                                                            $2,037,303.03



          Lang, Richard C.                                                               $2,002,177.14


          Elmalem, Maurice                                                               $1,864,173.51


          Green, Daniel C. & Helen                                                       $1,819,566.22


          Gentry, Kendall (Trust)                     kendall@landedgentry.com           $1,815,622.39
          “270 Wealth Trust”
          14553 Jura Place
          Anacortes, WA 98221




                                                                        -2-
         Case 22-14577-JKS                    Doc 1        Filed 06/07/22 Entered 06/07/22 19:00:34                     Desc Main
                                                          Document      Page 23 of 23
Debtor     National Realty Investment Advisors, LLC, et al.            Case number (if known) ______________________
               Name




          Name of investor and complete Name, telephone number, and                               Amount of Original Investment
          mailing address, including zip  email address of investor
                      code                         contact


          Brunton, Thomas “The Thomas                 thomasbrunton@yahoo.com            $1,809,896.12
          Brunton Living Trust”
          4835 Reindeer Rd
          Freeland, WA 98249

          Gladding-Spiteri, Caroline (IRA) rspiteri1207@yahoo.com
          “IRA Services Trust Co. CFBO carolinegs910@gmail.com                           $1,781,776.65
          Caroline Gladding-Spiteri IRA
          828853”
          P.O. Box 7080
          San Carlos, CA 94070

          Debiasi, Stephen                                                               $1,717,250.04


          Patel, Harit Kumar & Heena                                                     $1,300,000.00
          Narendra Kumar

          Gulati, Madhu                                                                  $1,108,027.38



          Thomas, Duane Elias                                                            $1,000,299.26


          Rietsch, Manfred (Corp)                     rietschm@gmail.com                 $964,474.92
          “Rietsch Enterprises Inc”
          PO Box 867
          Lakeside, AZ 85929

          Azevedo, John L.                                                               $958,447.58


          Donohue, John                                                                  $952,579.98




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